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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:07CR3036-1
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )          ORDER
JOSEPH ROBERT MORANDO,                   )
                                         )
                   Defendant.            )

      IT IS ORDERED that:

      (1)   The defendant’s motion to continue (filing 100) is granted.

       (2) Defendant Morando’s sentencing is continued to September 10, 2008,
at 1:00 p.m., before the undersigned United States District Judge, in Courtroom No.
1, Robert V. Denney Federal Building and United States Courthouse, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the
court.

      August 6, 2008.                  BY THE COURT:

                                       s/ Richard G. Kopf
                                       United States District Judge
